                            Case
                           Case   2:09-cv-00355-DWA
                                2:05-mc-02025        Document
                                                 Document 353-8 1-1 Filed
                                                                      Filed03/24/2009
                                                                            03/24/09 Page
                                                                                      Page1 of 22
                                                                                            1 of
!JS 44 (Rev. 11/04)                                                                     CIVIL COVER SHEET
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil
docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I.     (a) PLAINTIFFS                                                                                               DEFENDANTS
      Range Resources – Appalachia, LLC                                                                             Blaine Township

                                                                                                                    County of Residence of First Listed Allegheny
       (b) County of Residence of First Listed Plaintiff Stark, Ohio
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION ON THE LAND
                                                                                                                                 INVOLVED.
       (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
    Richard W. Hosking and Heather L. Lamparter                                                                           Dennis M. Makel
    K&L Gates LLP
    Henry W. Oliver Building, 535 Smithfield Street
    Pittsburgh, PA 15222
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)             and One Box for Defendant)
                                                                                                                                              PTF       DEF                                                  PTF         DEF
       1    U.S. Government               X       3   Federal Question                               Citizen of This State                          1      1           Incorporated or Principal Place             4       4
              Plaintiff                                  (U.S. Government Not a Party)                                                                                   of Business In This State

       2    U.S. Government                       4   Diversity                                      Citizen of Another State                       2          2       Incorporated and Principal Place            5        5
              Defendant                                  (Indicate Citizenship of Parties                                                                                of Business In Another State
                                                         in Item III)
                                                                                                     Citizen or Subject of a                        3          3       Foreign Nation                              6        6
                                                                                                      Foreign Country
IV. NATURE OF SUIT                      (Place an “X” in One Box Only)
            CONTRACT                                          TORTS                                             FORFEITURE/PENALTY                              BANKRUPTCY                        OTHER STATUTES
      110 Insurance                      PERSONAL INJURY                     PERSONAL INJURY                        610 Agriculture                           422 Appeal 28 USC 158               400 State Reapportionment
      120 Marine                                310 Airplane                       362 Personal Injury -            620 Other Food & Drug                                                         410 Antitrust
                                                                                                                                                              423 Withdrawal
      130 Miller Act                            315 Airplane Product                   Med. Malpractice             625 Drug Related Seizure                                                      430 Banks and Banking
                                                                                                                                                                  28 USC 157
                                                                                                                                                                                                  450 Commerce
      140 Negotiable Instrument                     Liability                      365 Personal Injury -                of Property 21 USC 881
                                                                                                                                                          PROPERTY RIGHTS                         460 Deportation
      150 Recovery of Overpayment               320 Assault, Libel &                   Product Liability            630 Liquor Laws                                                               470 Racketeer Influenced and
          & Enforcement of Judgment                 Slander                        368 Asbestos Personal            640 R.R. & Truck                          820 Copyrights                          Corrupt Organizations
      151 Medicare Act                          330 Federal Employers’                 Injury Product               650 Airline Regs.                         830 Patent                          480 Consumer Credit
      152 Recovery of Defaulted                     Liability                          Liability                    660 Occupational                          840 Trademark                       490 Cable/Sat TV
          Student Loans                         340 Marine                           PERSONAL                           Safety/Health                                                             810 Selective Service
          (Excl. Veterans)                      345 Marine Product                                                  690 Other                                                                     850 Securities/Commodities/
                                                                                     PROPERTY
                                                                                                                                                                                                      Exchange
      153 Recovery of Overpayment                   Liability                      370 Other Fraud                          LABOR                             SOCIAL SECURITY                     875 Customer Challenge
          of Veteran’s Benefits                 350 Motor Vehicle                  371 Truth in Lending                                                                                               12 USC 3410
      160 Stockholders’ Suits                   355 Motor Vehicle                  380 Other Personal               710 Fair Labor Standards                  861 HIA (1395ff)
                                                                                                                                                                                                  890 Other Statutory Actions
      190 Other Contract                            Product Liability                  Property Damage                  Act                                   862 Black Lung (923)
                                                                                                                                                                                                  891 Agricultural Acts
                                                                                                                    720 Labor/Mgmt. Relations                 863 DIW C/DIWW (405 (g))
      195 Contract Product Liability            360 Other Personal                 385 Property Damage                                                                                            892 Economic Stabilization
                                                                                                                                                              864 SSID Title XVI
      196 Franchise                                 Injury                             Product Liability            730 Labor/Mgmt. Reporting                                                         Act
                                                                                                                                                              865 RSI (405(g))
                                                                                                                        & Disclosure Act                                                          893 Environmental Matters
                                                                                                                                                                                                  894 Energy Allocation Act
          REAL PROPERTY                         CIVIL RIGHTS                 PRISONER PETITIONS                     740 Railway Labor Act                FEDERAL TAX SUITS                        895 Freedom of Information
                                                                                                                                                                                                      Act
      210 Land Condemnation                      441 Voting                        510 Motions to Vacate            790 Other Labor Litigation                870 Taxes (U.S. Plaintiff
                                                                                                                                                                                                  900 Appeal of Fee
      220 Foreclosure                            442 Employment                        Sentence                                                                   or Defendant)
                                                                                                                    791 Empl. Ret. Inc.                                                               Determination Under
      230 Rent Lease & Ejectment                 443 Housing/                      Habeas Corpus:
                                                                                                                         Security Act                         871 IRS - Third Party                   Equal Access to Justice
                                                                                   530 General
      240 Torts to Land                             Accommodations                                                                                                 26 USC 7609                    950 Constitutionality of
                                                                                   535 Death Penalty
      245 Tort Product Liability                 444 Welfare                                                                                                                                          State Statutes
                                                                                   540 Mandamus & Other
      290 All Other Real Property                445 Amer w/Disabilities           550 Civil Rights
                                                    Employment                     555 Prison Condition
                                                 446 Amer w/Disabilities
                                                    Other
                                         X       440 Other Civil Rights
                           (PLACE AN “X” IN ONE BOX ONLY)
V. ORIGIN                                                                                                                                                                                                   Appeal to
                                                                                                                                           Transfer from                                                    District
                                                                                                                                           another district                                                 Judge from
      1    Original             2      Removed from               3     Remanded from                  4    Reinstated or             5    (specify)                     6     Multidistrict           7    Magistrate
           Proceeding                  State Court                      Appellate Court                     Reopened                                                           Litigation                   Judgment
VI. CAUSE OF ACTION                          Cite the U.S. Civil Statute under which you are filing and write brief statement of cause. (Do not cite jurisdictional statutes unless diversity):
                                             28 U.S.C. § 1331              and            42 U.S.C. § 1983
                                             Brief description of cause:
                                             Constitutional claims regarding local ordinances seeking declaratory relief.
VII. REQUESTED IN                                     CHECK IF THIS IS A CLASS ACTION                                  DEMAND in excess of $75,000                     CHECK YES only if demanded in complaint:
     COMPLAINT:                                       UNDER F.R.C.P. 23                                                                                                JURY DEMAND:          Yes       X    No
VIII. RELATED CASE(S)                     (See
      IF ANY                              instructions):
                                                                      JUDGE: Donetta W. Ambrose DOCKET NUMBER: 08-1452
DATE                                                                               SIGNATURE OF ATTORNEY OF RECORD
March 24, 2009                                                                     s/Heather L. Lamparter

FOR OFFICE USE ONLY

     RECEIPT #                            AMOUNT                                       APPLYING IFP                                        JUDGE                                          MAG. JUDGE
              Case
             Case   2:09-cv-00355-DWA
                  2:05-mc-02025        Document
                                   Document 353-8 1-1 Filed
                                                        Filed03/24/2009
                                                              03/24/09 Page
                                                                        Page2 of 22
                                                                              2 of


                                            JS 44A REVISED OCTOBER, 1993

IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                         THIS CASE DESIGNATION SHEET MUST BE COMPLETED

PART A
This case belongs on the (           Erie           Johnstown X             Pittsburgh) calendar.

1.   ERIE CALENDAR - If cause of action arose in the counties of Crawford, Elk, Erie, Forest, McKean, Venango or
     Warren, OR any plaintiff or defendant resides in one of said counties.
2.   JOHNSTOWN CALENDAR - If cause of action arose in the counties of Bedford, Blair, Cambria, Clearfield or
     Somerset, OR any plaintiff or defendant resides in one of said counties.
3.   Complete if on ERIE CALENDAR: I certify that the cause of action arose in                     County and that the
                              resides in                              County.
4.   Complete if on JOHNSTOWN CALENDAR: I certify that the cause of action arose in                             County
     and that the                            resides in                          County.

PART B (You are to check ONE of the following)
1. X This case is related to Number 08-1452 Judge Donetta W. Ambrose
2.  This case is not related to a pending or terminated case.

DEFINITIONS OF RELATED CASES:
CIVIL: Civil cases are deemed related when a case filed relates to property included in another suit or involves the same
issues of fact or it grows out of the same transactions as another suit or involves the validity or infringement of a patent
involved in another suit.
EMINENT DOMAIN: Cases in contiguous closely located groups and in common ownership groups which will lend
themselves to consolidation for trial shall be deemed related.
HABEAS CORPUS & CIVIL RIGHTS: All habeas corpus petitions filed by the same individual shall be deemed related.
All pro se Civil Rights actions by the same individual shall be deemed related.

PART C
1. CIVIL CATEGORY (Place x in only applicable category).
   1. (   ) Antitrust and Securities Act Cases
   2. (   ) Labor-Management Relations
   3. (   ) Habeas Corpus
   4. ( )    Civil Rights
   5. (   ) Patent, Copyright, and Trademark
   6. (   ) Eminent Domain
   7. (X)    All other federal question cases
   8. (   ) Al personal and property damages tort cases, including maritime, FELA, Jones Act, Motor vehicle,
             products liability, assault, defamation, malicious prosecution, and false arrest.
   9. ( )    Insurance indemnity, contract, and other diversity cases.
   10. (  ) Government Collection Cases (shall include HEW Student Loans (Education), VA Overpayment,
             Overpayment of Social Security, Enlistment Overpayment (Army, Navy, etc.), HUD Loans, GAO Loans
             (Misc. Types), Mortgage Foreclosures, S.B.A. Loans, Civil Penalties and Coal Mine Penalty and
             Reclamation Fees.)

     I certify that to the best of my knowledge the entries on this Case Designation Sheet are true and correct.


Date: March 24, 2009                                                      s/Heather L. Lamparter
                                                                                        ATTORNEY AT LAW


NOTE: ALL SECTIONS OF BOTH SIDES MUST BE COMPLETED BEFORE CASE CAN BE PROCESSED.
